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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


CATHOLIC CHARITIES, DIOCESE OF
FORT WORTH, INC.,

               Plaintiff,

       v.                                                Civil Action No. 25-0605 (LLA)

DEPARTMENT OF HEALTH AND
HUMAN SERVICES, et al.

               Defendants.


                              STIPULATION OF DISMISSAL

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff and Defendants, by

and through undersigned counsel, hereby stipulate to dismiss this action, without prejudice, with

each party to bear their own costs, attorney fees, and expenses.

Dated: April 29, 2025

                                                      Respectfully submitted,
/s/ Edward T. Waters
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